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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


GWANJUN KIM,

               Plaintiff,                                    Case No. 1:06-CV-683

v                                                            Hon. Gordon J. Quist

U.S. DEPARTMENT OF LABOR,
et al,

            Defendants.
________________________________________/

                        ORDER GRANTING MOTION FOR LEAVE
                        TO FILE SECOND AMENDED COMPLAINT

               On November 30, 2006, the court entered an order directing any defendants who

oppose plaintiff filing a second amended complaint to file their briefs in opposition not later than

December 13, 2006.

               On December 13, 2006, three entities who are not party defendants in this action, but

whom plaintiff seeks to add as defendants in his proposed Second Amended Complaint, being the

Michigan Department of Labor & Economic Growth, Unemployment Insurance Agency, and

Department Director, Robert W. Swanson, filed an Answer to Plaintiff’s Motion for Leave to File

Second Amended Complaint (docket no. 29) opposing plaintiff’s motion to amend. The three

prospective adverse parties cite no authority which would allow them to file such an answer since

they are not yet parties to this action, and the court is aware of none. Accordingly, the “Answer”

filed by the three prospective adverse parties will be ordered STRICKEN. These entities may, of

course, file a motion to dismiss at the appropriate time.


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               None of the present defendants having filed briefs in oppositions to plaintiff’s motion,

plaintiff’s motion to file a second amended complaint (docket no. 8) is GRANTED and the

complaint is deemed filed this date.

               IT IS SO ORDERED.



Dated: December 14, 2006                      /s/ Hugh W. Brenneman, Jr.
                                              Hugh W. Brenneman, Jr.
                                              United States Magistrate Judge




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